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                        EXHIBIT 1
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DJF:TSJ:GMT:cer

               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JUSAMUEL RODRIGUEZ                                Civil No. 1:17-cv-1011
MCCREARY, et al.,
             Plaintiffs.
                                                  (Wilson, J.)
v

FEDERAL BUREAU OF PRISONS,
et al.,
        Defendants

     DEFENDANTS' RESPONSES AND OBJECTIONS TO
PLAINTIFFS' REQUESTS FOR PRODUCTION OF DOCUMENTS
 CONCERNING CLOSURE OF SPECIAL MANAGEMENT UNIT

       Defendants hereby respond to Plaintiffs' requests for production of

documents concerning the closure of the Special Management Unit at the

United States Penitentiary Lewisburg (USP Lewisburg) as follows:

                     PRELIMINARY STATEMENT

       Defendant's responses to these document requests are based on

information presently available. Defendant reserves the right to make

changes and/or supplement these responses at a later time to correct

omissions, to reflect more accurate information and/or documents, as

provided by Rule 26 of the Federal Rules of Civil Procedure.
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                           GENERAL OBJECTIONS

      1. All responses and objections are based on upon such
information and documents that are presently available and specifically

known to the defendants. All responses and objections are provided

without prejudice to presenting further information, evidence,               or

analyses not yet identified, obtained, or completed.

      2.    The defendants object to these document requests to the

extent they seek documents protected by any privilege, doctrine or

immunity, including but not limited to the attorney-client privilege, the

work product doctrine, and any other applicable privilege recognized by

common law, statutes, or rules of evidence. To the extent the defendants

inadvertently provide any privileged information, such inadvertent

disclosure shall not be a waiver of protection. The defendants expressly

reserve the right to object to the use of any privileged information in this

or any other litigation.

      3.   These general objections are incorporated by reference into

each of the specific responses below as if fully set forth therein.




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Relevant Definitions

  o   "CMU" means a Communications Management Unit.

  r All other terms shall have the definition provided for in Plaintiffs'
      F   irst Set of Interrogatories and Requests for Production.

                                   &$++&


REQUEST No. 1:

Provide Documents sufficient to show the BOP's plans related to the
closure of the SMU at USP Lewisburg and transfer of Represented
Prisoners and any other SMU Prisoners from USP Lewisburg to other
institutions.

OBJECTION TO REQUEST No. 1:

      Defendants object to this request because it does not seek relevant
information concerning the claims presented in the complaint. See Fed.
R. Civ. P. 26(b)(2). Further, responsive documents concerning the
closure of the Special Management Unit at United States Penitentiary
Lewisburg may be covered by the deliberative process privilege.

RESPONSE TO REQUEST No. 1:

      However, in a good faith effort, responsive information is
contained in the previously filed Declaration of Erin Frymoyer with
attachments that is provided again with this response for convenience.




                                       r)
                                       t)
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REQUEST No. 2:

Provide Documents sufficient to show the transition of the SMU to a
CMU located at USP Lewisburg.

OBJECTION TO REQUEST No. 2:

      Defendants object to this request because it does not seek relevant
information concerning the claims presented in the complaint. See Fed.
R. Civ. P. 26(b)(2). Further, responsive documents concerning the
closure of the Special Management Unit at United States Penitentiary
Lewisburg may be covered by the deliberative process privilege.


RESPONSE TO REQUEST No. 2:

      However, in a good faith effort, responsive information is
contained in the previously filed Declaration of Erin Frymoyer with
attachments that is provided again with this response for convenience.

REQUEST No. 3:

Provide Documents sufficient to show the reason for the closure of the
SMU at USP Lewisburg and that the SMU at Lewisburg will not reopen
in the future.

OBJECTION TO REQUEST No. 3:

      Defendants object to this request because it does not seek relevant
information concerning the claims presented in the complaint. See Fed.
R. Civ. P. 26(b)(2). Further, responsive documents concerning the
closure of the Special Management Unit at United States Penitentiary
Lewisburg may be covered by the deliberative process privilege.




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RESPONSE TO REQUEST No. 3:

      However, in a good faith effort, responsive information is
contained in the following news article:
             bo      /resources/news/2O 1 80606 tom

                                        DAVID J. FREED
                                        United States Attorney



                                        s/Timothy S. Judee
                                        Timothy S. Judge
                                        Assistant U.S. Attorney
                                        PA 203827



                                        s/G. Michael Thiel
                                        G. Michael Thiel
                                        Assistant U.S. Attorney
                                        PA 72926


                                        Cynthia E. Roman
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Date: March 5, 2020




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              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JUSAMUEL RODRIGUEZ                              Civil No. 1:17-cv-1011
MCCREARY, et al.,
            Plaintiffs.
                                                (Wilson, J.)
v.:
                                        :
FEDERAL BUREAU OF PRISONS,:
et al.,                   :
        Defendants

                     CERTIFICATE OF SERVICE

      The undersigned hereby certifies that she is an employee in the
Office qf the United States Attorney for the Middle District of
Pennsylvania and is a person of such age and discretion to be competent
to serve papers.

      That on this 5th day of March, 2020, she served a copy of the
foregoing

     DEFENDANTS' RESPONSES AND OBJECTI ONS TO
PLAINTIFFS' REQUESTS FOR PROD UCTION OF DOCUMENTS
 CONCERNING CLOSURE OF SPECIAL MANAGEMEN T UNIT

by placing said copy in a postage prepaid envelope addressed to the
person hereinafter named, at the place arLd address stated below, which
is the last known address, and by depositing said envelope and its
contents in the United States Mail at Williamsport, Pennsylvania, and
also via email.
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                                                Cynthia E. Roman
                                                Paralegal Specialist
